Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 1 of 6 PageID #: 658
Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 2 of 6 PageID #: 659
Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 3 of 6 PageID #: 660
Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 4 of 6 PageID #: 661
Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 5 of 6 PageID #: 662
Case 1:06-cr-00083-IMK-JSK Document 408 Filed 12/15/11 Page 6 of 6 PageID #: 663
